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                                                 February 19, 2021
The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007
Re: Christa McAuliffe Intermediate School PTO, Inc. v. Bill De Blasio, 18 CV11657 (ER)(OTW)
Your Honor:
We represent Plaintiffs in the above-referenced case, but write on behalf of both Plaintiffs and
Defendants. The parties write to request a second amendment to the Civil Case Discovery Plan
and Scheduling Order in this case. The Court approved the parties’ last extension request on No-
vember 2, 2020 (Doc. 135), setting the end of Phase I discovery as March 1, 2021. Since then,
substantial progress has been made. Defendants completed production of e-discovery and have
taken the deposition of Plaintiffs’ expert. However, delays in production caused by the COVID-
19 pandemic and other factors have substantially slowed the discovery process and made it im-
possible for the parties to complete discovery by the current deadline. Therefore, the parties mu-
tually request an extension of the discovery deadline until April 30, 2021. The parties also re-
quest that the case management conference set for March 4, 2021 be rescheduled for a date after
the close of discovery.

Most notably, due to extenuating circumstances, Defendants’ expert report was not served until
December 23, 2020. Plaintiffs served expert discovery requests on January 5, 2021. Defendants
asked for a two-week extension to respond to the requests, permitting them to produce expert
discovery on February 19. Plaintiffs agreed to that extension but note that although the current
schedule (Doc. 135) provided for a period of 45 days between receipt of Defendants’ responses
to expert discovery requests and the close of expert depositions, that time would be compressed
to less than two weeks under the current deadline.

In addition, Defendants have stated that they would like to produce a supplemental expert report
in response to the deposition testimony of Plaintiffs’ expert. The parties have yet to agree on
whether the supplemental report is permissible and will bring any dispute over this question to
the Court in the form of a letter as soon as possible.

Regardless of whether a supplemental report is permitted, Plaintiffs require time beyond the cur-
rent March 1 deadline to adequately review Defendants’ documents and prepare for and take
depositions—especially because one of Plaintiffs’ counsel responsible for the depositions is co-
counsel for Petitioners in Cedar Point Nursery v. Shiroma, currently pending before the Supreme
Court (No. 20-107). Petitioners’ reply brief in that case is due on March 8, 2021.

For these reasons, the parties propose the following deadline:

All fact discovery (including expert and non-expert depositions) to be completed by April 30,
2021.
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                                      Sincerely,



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                                      Counsel for Plaintiffs
                                      *Admitted Pro Hac Vice
